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                                                                             2015 Feb-05 PM 01:01
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION
SONNIE WELLINGTON                          }
HEREFORD, et al.,                          }
                                           }
      Plaintiffs,                          }
                                           }
v.                                         }   Case No.: 5:63-cv-00109-MHH
                                           }
UNITED STATES,                             }
                                           }
      Intervenor Plaintiff,                }
                                           }
v.                                         }
                                           }
HUNTSVILLE BOARD OF                        }
EDUCATION, et al.,                         }
                                           }
      Defendants.                          }


                    NOTICE OF NON-PARTY SUBMISSION
      Consistent with the Court’s April 10, 2014 order (see Doc. 304), the Clerk

files the attached non-party submission.
